Case 2:14-cv-01268-RAJ Document 12 Filed 09/09/14 Page 1 of 3

The Honorable Richard A. Jones

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AMERICAN LIFE, INC., a Washington

corporation,
No. 2:14-cv-01268 RAJ

Plaintiff,

Vv. NOTICE OF VOLUNTARY DISMISSAL
PURSUANT TO FRCP 41(a)(1 )(A)@)
EB-5 UNITED, LLC, a Washington limited
liability company,

Defendant.

NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FRCP 41(a)(1)(A)(i)

Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(), Plaintiff American Life, Inc.,
through its undersigned counsel of record, hereby gives notice that the above-captioned case is
voluntarily dismissed, without prejudice, against Defendant EB-5 United, LLC. Defendant has
neither filed an answer to the complaint nor a motion for summary judgment as to American

Life, Inc.’s claims. Dismissal under FRCP 41(a)(1)(A)() is therefore permitted without a court

order.
NOTICE OF VOLUNTARY DISMISSAL KELLER ROHRBACK L.L.P.
(2:14-CV-01268-RAJ)- 1 1201 Third Avenue, Suite 3200

Seattle, Washington 98101-3052
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Case 2:14-cv-01268-RAJ Document 12 Filed 09/09/14 Page 3 of 3

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on the 9th day of September, 2014, I filed the foregoing
electronically through the CM/ECF system, which caused the following counsel to be
served by electronic means:

Travis W. Hall, WSBA # 38468

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